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(3/15)


                              UNITED STATES DISTRICT COURT
                                                           for
                                           Eastern District of Washington


U.S.A. vs.                      Myrick, Tracy                          Docket No.             2:16CR00080-RMP-1


                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Tracy Myrick, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge Mary K. Dimke,
sitting in the Court at Spokane, Washington, on the 14th day of April 2016, under the following conditions:


Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or
use marijuana, regardless of whether Defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #3: The defendant tested positive for the presence of amphetamine and methamphetamine on December 28, 2016.

Violation #4: The defendant tested presumptively positive for the presence of amphetamine on January 12, 2017.

Violation #5: The defendant tested positive for the presence of amphetamine and methamphetamine on December 12, 20,
23, and 27, 2016, as well as, on January 3 and 5, 2017.

  PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
             PREVIOUSLY REPORTED TO THE COURT AND ISSUE A WARRANT

                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       01/19/2017
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer
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   Re: Myrick, Tracy
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THE COURT ORDERS

[ ]       No Action
[ X]      The Issuance of a Warrant
[ ]       The Issuance of a Summons
[ ]       The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
[ ]       Defendant to appear before the Judge assigned to the case.
[ ]       Defendant to appear before the Magistrate Judge.
[ ]       Other


                                                                         Signature of Judicial Officer
                                                                                December 20, 2017

                                                                         Date
